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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                  DELTA DIVISION

MACK ARTHUR BOWENS                                                                      MOVANT

v.                                                                                No. 2:00CR94-P

UNITED STATES OF AMERICA                                                          RESPONDENT


                             CERTIFICATE OF APPEALABILITY

         A notice of appeal having been filed in the above captioned case from either the final

order in a habeas corpus proceeding in which the detention complained of arises out of process

issued by a state court under 28 U.S.C. § 2254 or the final order in a proceeding under 28 U.S.C.

§ 2255, the court, considering the record in the case and the requirements of FRAP 22(b) and 28

U.S.C. § 2253(c), hereby finds that:

                                             PART A

         9      the applicant has made a substantial showing of the denial of a constitutional


right.

SPECIFIC ISSUE(S):




         :      a certificate of appealability should not issue.


REASONS FOR DENIAL: For the reasons stated in the opinion, the court finds that the

Petitioner has failed to “demonstrate that the issues are debatable among jurists of reason; that a

court could resolve issues in a different manner; or that the questions are adequate to deserve

encouragement to proceed further.” Barefoot v. Estelle, 463 U.S. 880, 893 n.4, 103 S.Ct. 3383,
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3394 n.4, 77 L.Ed.2d 1090 (1993) (superceded by statute) (citations and quotations omitted); 28

U.S.C. § 2253(1) and (2). Specifically, the court finds, for the reasons set forth in its March 30,

2011, memorandum opinion and final judgment, that the instant motion to vacate, set aside, or

correct sentence should be denied.

                                     PART B (if applicable)

       9       the party appealing is entitled to proceed in forma pauperis.


       :       the party appealing is not entitled to proceed in forma pauperis.


REASONS FOR DENIAL: The Court finds that the Petitioner's appeal is not taken in good faith

because it is frivolous and has no possibility of success. See FRAP 24.


       This, the 13th day of April, 2011.

                                                      /s/ W. Allen Pepper, Jr.
                                                      W. ALLEN PEPPER, JR.
                                                      UNITED STATES DISTRICT JUDGE




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